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                                #:19059

From: Russell.Mangas@lw.com <Russell.Mangas@lw.com>
Sent: Wednesday, September 13, 2023 10:16 AM
To: Kazim Naqvi <KNaqvi@sheppardmullin.com>; julianne.osborne@lw.com;
SKYRYSEMOOG.LWTEAM@lw.com
Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;
Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker
<TBaker@sheppardmullin.com>
Subject: RE: Moog/Skyryse - Motion to Enforce

Kazim,

We wanted to provide an update on the processing of the Google Drive documents into Relativity. We
continue to work diligently to move this process forward. As I explained in my email on Monday, FTI is
processing approximately 1TB of data that it collected form Google Drive into Relativity. A number of
the files included in that data are zip files, which expand during processing. The combination of the total
volume and zip file expansion is slowing down the speed at which the data can be processed. Based on
the latest update we’ve received from FTI, we expect it to take until the end of the week at the earliest
before that data is fully processed and able to be searched. We will provide another update as soon as
we know more.

Based on the communications between Doug Lumish and your team this morning, Skyryse is prepared to
proceed with the filing of the joint status report tomorrow. We propose that the parties exchange
drafts of their positions at 10am PST tomorrow morning and final drafts at 2pm PST tomorrow
afternoon. Please let us know if that schedule works for you.

Thanks,

Russell Mangas

LATHAM & WATKINS LLP
330 North Wabash Avenue, Suite 2800 | Chicago, IL 60611
D: +1.312.876.7697

From: Mangas, Russell (CH)
Sent: Monday, September 11, 2023 8:31 PM
To: 'Kazim Naqvi' <KNaqvi@sheppardmullin.com>; Osborne, Juli (Bay Area)
<julianne.osborne@lw.com>; #C-M SKYRYSE - MOOG - LW TEAM <SKYRYSEMOOG.LWTEAM@lw.com>
Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;
Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker
<TBaker@sheppardmullin.com>
Subject: RE: Moog/Skyryse - Motion to Enforce

Hi Kazim:

Skyryse has been working quickly and diligently to move this process forward. You should know that FTI
completed collecting the data from Google Drive today. That collection was a time-consuming process
because it is almost 1 TB of data and the collection speed is dependent on Google’s collection tool (i.e.,
FTI can’t make it go faster). Now FTI is processing and exporting the data into Relativity so it can run
searches and provide the hit counts which we need in order to discuss them with you and make sure we



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have a workable path forward. For the volume of data at issue, that is typically a several day
process. We have asked FTI to dedicate whatever computing resources it can to completing the process
before September 14. However, to give the parties sufficient time to digest the hit counts and meet and
confer, and hopefully resolve any remaining disputes, we suggest stipulating to extend the September
14 deadline to file a status report to Monday, September 18, and similarly extending the date for the
status conference. If Moog agrees, we will prepare that stipulation. Please let us know.

Thanks,


Russell Mangas

LATHAM & WATKINS LLP
330 North Wabash Avenue, Suite 2800 | Chicago, IL 60611
D: +1.312.876.7697

From: Kazim Naqvi <KNaqvi@sheppardmullin.com>
Sent: Monday, September 11, 2023 5:17 PM
To: Mangas, Russell (CH) <Russell.Mangas@lw.com>; Osborne, Juli (Bay Area)
<julianne.osborne@lw.com>; #C-M SKYRYSE - MOOG - LW TEAM <SKYRYSEMOOG.LWTEAM@lw.com>
Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;
Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker
<TBaker@sheppardmullin.com>
Subject: RE: Moog/Skyryse - Motion to Enforce

Hi Russell:

I am following up on your e-mail below. Please let us know when Skyryse anticipates being able to
provide the search term hit count information. As you know, the Parties’ joint submission is due on
Thursday, and we need sufficient time to review the hit count information and meet and confer as
needed.

Thanks,
Kazim

Kazim A. Naqvi
+1 424-288-5336 | direct
KNaqvi@sheppardmullin.com | Bio


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Los Angeles, CA 90067-6017
+1 310-228-3700 | main
www.sheppardmullin.com | LinkedIn | Twitter

From: Russell.Mangas@lw.com <Russell.Mangas@lw.com>
Sent: Wednesday, September 6, 2023 4:47 PM
To: Kazim Naqvi <KNaqvi@sheppardmullin.com>; julianne.osborne@lw.com;
SKYRYSEMOOG.LWTEAM@lw.com
Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;




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Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker
<TBaker@sheppardmullin.com>
Subject: RE: Moog/Skyryse - Motion to Enforce

Counsel:

We have identified the Google Drive documents from the relevant logs and are in the process of
collecting and processing them. We have been informed that process will take approximately one week,
at which point we will have the ability to run the search term sets and will report back promptly.

We also write in furtherance of and to correct my email of September 2. Regarding Tony Chirico, he was
not inadvertently omitted from the last of custodians. Rather, he was never employed by Skyryse, as
noted in Skyryse’s Amended Answer at Paragraph 143, so his omission from the list of custodians was
proper. Nevertheless, Skyryse has confirmed that Mr. Chirico does not have a Skyryse Google Docs
account and that there are no access logs for him in Google Docs.

Thanks,

Russell Mangas

LATHAM & WATKINS LLP
330 North Wabash Avenue, Suite 2800 | Chicago, IL 60611
D: +1.312.876.7697

From: Kazim Naqvi <KNaqvi@sheppardmullin.com>
Sent: Wednesday, September 6, 2023 6:47 PM
To: Mangas, Russell (CH) <Russell.Mangas@lw.com>; Osborne, Juli (Bay Area)
<julianne.osborne@lw.com>; #C-M SKYRYSE - MOOG - LW TEAM <SKYRYSEMOOG.LWTEAM@lw.com>
Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;
Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker
<TBaker@sheppardmullin.com>
Subject: RE: Moog/Skyryse - Motion to Enforce

Counsel:

I am following up on the below e-mail. Please promptly advise if Skyryse has obtained updated search
term data and hit reports for Google Drive, as discussed below.

Thanks,
Kazim

Kazim A. Naqvi
+1 424-288-5336 | direct
KNaqvi@sheppardmullin.com | Bio


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                                #:19062

www.sheppardmullin.com | LinkedIn | Twitter

From: Russell.Mangas@lw.com <Russell.Mangas@lw.com>
Sent: Saturday, September 2, 2023 8:42 AM
To: Kazim Naqvi <KNaqvi@sheppardmullin.com>; julianne.osborne@lw.com;
SKYRYSEMOOG.LWTEAM@lw.com
Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;
Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker
<TBaker@sheppardmullin.com>
Subject: RE: Moog/Skyryse - Motion to Enforce

Kazim,

This email responds to both your August 31 and two September 1 emails.

Raithel Laptop:

We disagree with your contention that Skyryse has not provided a complete image of Mr.
Raithel’s laptop. To the contrary, Skyryse has provided the most complete image that could be made
with the imaging tools available. Nevertheless, consistent with our discussion today, we have emailed
iDS to determine whether it has additional ideas on how to perform the imaging and either have FTI
perform the imaging or iDS perform it if it is possible to overcome the previously mentioned
technological limitations. We will keep you looped into those communications.

Google Drive:

FTI is in the process of determining what is involved in exporting the documents identified in the log files
for the Custodians, including the number and burden involved in doing so. As noted on the call, the set
of log files from which documents are being identified include both recent logs as well as historical logs
from April 2022. We should know more about the volume of data by early next week. As we explained
on the call today, assuming the burden of exporting that data is not too great, we understand the
parties agree that FTI will export it into Relativity and perform searches, including of document
metadata, using an agreed set of search terms. Skyryse would then perform a relevance and privilege
review of the hits. It is unclear what standard Moog purports to invoke by referring to a “broadest
possible approach to relevance,” but Skyryse can confirm that its relevance review will be conducted
consistent with its obligations under the rules.

Regarding the list of custodians, we appreciate your review of the list and identifying that Tony Chirico
was inadvertently omitted. We will include him in the list of Custodians.

Search Terms:

We disagree that reviewing over 84,000 documents is proportional to the needs of the case. To the
contrary, we believe Judge Wu was receptive to Skyryse’s proposal that would still result in a search
using well over 400 of Moog’s search terms. We remain confident that position would prevail if the
parties cannot resolve the dispute. Nevertheless, we agreed to table the dispute for now. Assuming it is
not too burdensome to export the documents on the Custodians’ files logs, we will re-run the search
terms as proposed in your August 24th email and report the hit counts. Both sides can then evaluate



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whether the resulting counts are reasonable and proportional. We expect we will be able to give you an
update on when we can provide that hit count to you by next week as well, but it is dependent on the
analysis regarding the Google Drive files described above.

Thanks,


Russell Mangas

LATHAM & WATKINS LLP
330 North Wabash Avenue, Suite 2800 | Chicago, IL 60611
D: +1.312.876.7697

From: Kazim Naqvi <KNaqvi@sheppardmullin.com>
Sent: Friday, September 1, 2023 4:31 PM
To: Osborne, Juli (Bay Area) <julianne.osborne@lw.com>; #C-M SKYRYSE - MOOG - LW TEAM
<SKYRYSEMOOG.LWTEAM@lw.com>
Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;
Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker
<TBaker@sheppardmullin.com>
Subject: RE: Moog/Skyryse - Motion to Enforce

Counsel:

I wanted to follow up on one issue. We now see that Juli’s list of “Custodians” in her August 30 e-mail
does not include Tony Chirico as a former Moog employee. Mr. Chirico is expressly identified in
Paragraph 143 of Moog’s Amended Complaint as a former Moog employee who went to Skyryse. Juli’s
e-mail referred to Page 6 of my June 20 letter, but that letter doesn’t specifically identify the former
Moog employees, only the other “Skyryse employees” at issue.

Moog will require that the files accessed by Tony Chirico also be made available for searching with
Moog’s search terms. Please confirm.

Thank you,
Kazim

Kazim A. Naqvi
+1 424-288-5336 | direct
KNaqvi@sheppardmullin.com | Bio


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www.sheppardmullin.com | LinkedIn | Twitter

From: Kazim Naqvi
Sent: Friday, September 1, 2023 11:59 AM
To: 'julianne.osborne@lw.com' <julianne.osborne@lw.com>; 'SKYRYSEMOOG.LWTEAM@lw.com'
<SKYRYSEMOOG.LWTEAM@lw.com>




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Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;
Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker
<TBaker@sheppardmullin.com>
Subject: RE: Moog/Skyryse - Motion to Enforce

Joe and Team:

Thank you for conferring today. This briefly summarizes our discussion.

For the Reid Raithel laptop, we agreed that FTI would reach out to iDS promptly to discuss iDS’s ability to
image Mr. Raithel’s laptop, and you agreed to keep us in the loop. Assuming iDS can perform the
imaging, we still request that the computer be delivered by September 8. Or, if iDS instructs FTI on how
to perform the imaging, we still request that the image be produced to iDS by September 8. If iDS
cannot perform the imaging or provide instructions on how to do it properly, then we can revisit and
further confer.

On Google Drive and search terms, we are generally in alignment as to process. You advised that FTI
cannot generate updated search term hit counts until it exports and processes all the files reflected in
the File Logs for the Custodians. You don’t expect that process to take a very long time, but we agreed
that you would check with FTI and provide us with a time estimate to complete that process when
available.

Upon receipt of updated search term hit counts, we can schedule another call to address any
outstanding issues, if any.

Thank you and have a nice weekend.

Best,
Kazim

Kazim A. Naqvi
+1 424-288-5336 | direct
KNaqvi@sheppardmullin.com | Bio


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Los Angeles, CA 90067-6017
+1 310-228-3700 | main
www.sheppardmullin.com | LinkedIn | Twitter

From: Kazim Naqvi
Sent: Thursday, August 31, 2023 5:08 PM
To: 'julianne.osborne@lw.com' <julianne.osborne@lw.com>; SKYRYSEMOOG.LWTEAM@lw.com
Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;
Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker
<TBaker@sheppardmullin.com>
Subject: RE: Moog/Skyryse - Motion to Enforce

Juli:




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In advance of our meet and confer call tomorrow, please find below Moog’s positions on the
outstanding issues raised in your e-mail.

Reid Raithel Laptop:

Moog has had no ex parte communications with iDS regarding Mr. Raithel’s laptop or iDS’ ability to
image a Mac. Rather, it is our expert’s understanding that iDS has the capability to provide a complete
image of Mr. Raithel’s Mac laptop.

We do not object to FTI discussing directly with iDS the imaging of Mr. Raithel’s Mac laptop. But, our
demand remains the same. We stand by our September 8 deadline for Skyryse to either produce a
complete image, or instead to provide the physical laptop to iDS for imaging. This is in line with the
timeline set forth in the Court’s directives, and we are not prepared to allow Skyryse to cause any
further delay. The Court ordered a complete image to be provided to iDS a month ago, and Moog still
does not have access to one.

Google Drive:

We are generally agreeable to Skyryse’s proposal, which we understand to be the following:

    1. FTI will export all documents from Google Drive identified on the log files as having been
       accessed by the Custodians.
    2. The metadata for all these documents will be searchable in the first instance.
    3. Skyryse will apply the agreed upon list of search terms and produce relevant, non-privileged
       documents.

We previously discussed on a meet and confer Skyryse’s approach to determining relevance. Mr.
Zahoory assured us that Skyryse would take the broadest possible approach to relevance, and if a
document has any relation to flight control, it would be produced. The example provided of a type of
document that would be excluded from production was a political e-mail referencing the “Democratic
Platform.”

If any of the foregoing is incorrect, please advise. We do, however, take issue with Skyryse’s caveat:
“assuming the resulting number of hits is reasonable.” Either the Parties have an agreement on all
search terms applied to Google Drive or not. From our review, the resulting search term hits across all of
Google Drive (approximately 84,000) is proportional to the needs of the case. And, it is our assumption
that the resulting search term hits from the subset of Google Drive that only the Custodians accessed
(even if including hits on metadata) would result in a lower volume.

Search Terms:

Moog is not prepared to remove or modify any of the 10 search terms identified in the e-mail below,
especially because they would now be run across a subset of the entire Google Drive repository.

Our position is that the search terms applied across all of Google Drive, resulting in approximately
84,000 hits, is proportional and not unduly burdensome. But, given that Moog agrees in principle to
Skyryse’s searching methodology in connection with the Custodians, we request that FTI provide



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updated search term hit numbers based on running Moog’s search terms through the files accessed by
the Custodians (and the metadata). The aggregate number would likely be less than 84,000, and the
numbers for individual search terms would ostensibly be less than what was reported before. Please
provide those updated hit counts as soon as possible.

Skyryse’s statement that the 10 search terms at issue “are generic or commonly used, industry standard-
terms that are in no way targeted to identify ‘relevant’ material” is also not well taken. For example,
“AMP” is the name of a Moog flight control program that was misappropriated by Defendants. As
another example, “PSAC” is the name of software processing documents referenced in detail in Moog’s
Motion to Enforce, demonstrating that they were derived from Moog documents. These terms are
targeted, and the resulting volume is not unduly burdensome.

We look forward to discussing these issues further tomorrow.

Thanks,
Kazim


Kazim A. Naqvi
+1 424-288-5336 | direct
KNaqvi@sheppardmullin.com | Bio


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From: julianne.osborne@lw.com <julianne.osborne@lw.com>
Sent: Wednesday, August 30, 2023 5:04 PM
To: Kazim Naqvi <KNaqvi@sheppardmullin.com>; SKYRYSEMOOG.LWTEAM@lw.com
Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;
Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker
<TBaker@sheppardmullin.com>
Subject: RE: Moog/Skyryse - Motion to Enforce

Hi Kazim,

We have now received additional information from FTI and provide the following responses to your
August 24 email:

Raithel Laptop
We are not aware that Moog has discussed iDS’s ability to image a Mac with them. In any case, does
Moog object to Skyryse and its vendor, FTI, reaching out to iDS directly to discuss how, if at all, iDS is
able to image Macs with the configuration Mr. Raithel’s laptop has? If iDS has an approach that works,
we can see whether FTI is able to use that method to image Mr. Raithel’s laptop.

Google Drive




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Skyryse has worked with FTI to find a solution for searching the Google Drive metadata for the relevant
custodians. As you are aware, Judge Wu found that it was reasonable for Skyryse to run the Google
Drive searches across the materials “accessed by Hummingbird personnel, former Moog employees, or
certain Skyryse personnel.” Dkt. 564 at 7. We understand that list to be the individuals you identified on
page 6 of your June 20, 2023 letter, also listed below (the “Custodians”). We have asked FTI to export all
documents from Google Drive identified on the log files as having been accessed by the Custodians.
Once exported to Relativity, the metadata of these documents will be searchable. Skyryse will then run
the agreed list of search terms across all these documents and their metadata and, assuming the
resulting number of hits is reasonable, will perform a relevance and privilege review of the hits.

We believe this solution accomplishes both parties’ objectives. By exporting all documents from the log
files for search and review, it provides Moog with more data than Moog requested and saves Moog time
not having to review the log files. It also alleviates Skyryse’s concern with producing its entire Google
Drive log files, which contain sensitive business information, much of it not relevant to this
matter. Please let us know if you would like to discuss.

Search Terms
FTI has used the modifications you proposed to re-run searches across Google Drive and Git. Those
searches yielded 84,000 documents (but keep in mind that this does not include the additional
documents to be exported from the log files, as proposed above). Reviewing this volume of data is
unduly burdensome and not proportional to the needs of the case. Moog has not responded to
Skyryse’s proposal to drop the ten terms below, which are generic or commonly used, industry
standard-terms that are in no way targeted to identify “relevant” material, as the Court ordered (Dkt.
564 at 7, 8, 10). Proceeding without these terms would result in approximately 56,000 total documents,
which will still require significant time and expense from Skyryse’s team to process and review, but is a
more reasonable volume. Unless Moog can propose modifications to these terms to target documents
relevant to this case, Skyryse maintains that these ten terms should also be dropped.

    1. TS_
    2. ETC.
    3. AMP
    4. SS_
    5. TD_
    6. CCDL
    7. SVN
    8. PSAC
    9. SDP
    10. SDD

We are available to further discuss these issues on Friday before 1 pm Pacific. Please let us know if that
works for your team.

Thank you,
Juli

The Custodians:
Hummingbird Employees




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    •   Any individuals with “@hummingbird-aero.com” within their email domain

 Former Moog Employees
    • Alan Lee
    • John Stafford
    • Sathya Achar
    • Mario Brenes
    • Lawrence Chow
    • Cynthia Le
    • Tri Dao
    • Reid Raithel
    • Paul Kapaun
    • Nigel Cranwell
    • Gonzalo Rey
    • Eric Chung
    • Tim Baptist
    • Dan Gunderson
    • Misook Kim
    • Santiago Correa-Mejia
    • Vic Nicholas
    • Alin Pilkington
    • Chi Hsin Alex Wang
    • Derek Shiells
    • Lori Bird

 Other Skyryse Employees
    • Amir Hallajpour
    • Chris Smith
    • David Lee
    • Diane Le
    • Hussein Khimji
    • Ian Young
    • Stephen Wang
    • Ilan Paz
    • Glenn Shintaku
    • Thusa Dinh

 From: Kazim Naqvi <KNaqvi@sheppardmullin.com>
 Sent: Wednesday, August 30, 2023 11:38 AM
 To: Osborne, Juli (Bay Area) <julianne.osborne@lw.com>; #C-M SKYRYSE - MOOG - LW TEAM
 <SKYRYSEMOOG.LWTEAM@lw.com>
 Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;
 Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker
 <TBaker@sheppardmullin.com>
 Subject: RE: Moog/Skyryse - Motion to Enforce




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 Hi Juli:

 It has been nearly 48 hours since your e-mail below (and nearly a week since my initial e-mail), and we
 still have not received a substantive response. The next joint report is due in 15 days, and to the extent
 any meet and confer is necessary, we need to begin that process now. Please let us know Skyryse’s
 positions promptly.

 Thank you,
 Kazim

 Kazim A. Naqvi
 +1 424-288-5336 | direct
 KNaqvi@sheppardmullin.com | Bio


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 www.sheppardmullin.com | LinkedIn | Twitter

 From: julianne.osborne@lw.com <julianne.osborne@lw.com>
 Sent: Monday, August 28, 2023 1:42 PM
 To: Kazim Naqvi <KNaqvi@sheppardmullin.com>; SKYRYSEMOOG.LWTEAM@lw.com
 Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;
 Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker
 <TBaker@sheppardmullin.com>
 Subject: RE: Moog/Skyryse - Motion to Enforce

 Hi Kazim,

 We are still working on a response to the proposal you sent. While we are still waiting for some data
 from our e-discovery vendor, we expect to respond substantively soon. To the extent further discussion
 would be helpful, we’ll include some proposed times for a meet and confer in our response.

 Thanks,
 Juli

 From: Kazim Naqvi <KNaqvi@sheppardmullin.com>
 Sent: Monday, August 28, 2023 11:29 AM
 To: #C-M SKYRYSE - MOOG - LW TEAM <SKYRYSEMOOG.LWTEAM@lw.com>
 Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;
 Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker
 <TBaker@sheppardmullin.com>
 Subject: RE: Moog/Skyryse - Motion to Enforce

 Counsel:

 I am following up on the below e-mail, which has not received a response. Please advise.




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                                #:19070

 Thank you,
 Kazim

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 From: Kazim Naqvi
 Sent: Thursday, August 24, 2023 3:47 PM
 To: 'SKYRYSEMOOG.LWTEAM@lw.com' <SKYRYSEMOOG.LWTEAM@lw.com>
 Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>;
 Lai Yip <LYip@sheppardmullin.com>; Michael Heins <MHeins@sheppardmullin.com>; Tyler Baker Esq.
 (tbaker@sheppardmullin.com) <TBaker@sheppardmullin.com>
 Subject: Moog/Skyryse - Motion to Enforce

 Counsel:

 I am writing to follow up on the hearing this morning and the Court’s directives set forth in the attached
 document. I provide below Moog’s positions and proposals on the three outstanding issues, consistent
 with Judge Wu’s directives.

 Regarding the Reid Raithel laptop, consistent with Judge Wu’s directives on page 3 of the attached, we
 request that Skyryse re-image Mr. Raithel’s laptop and produce the current, complete image to iDS by
 September 8. If Skyryse is unable to provide a complete, current image (due to any alleged technical
 issue or otherwise), then we demand that Skyryse send Mr. Raithel’s physical laptop to iDS on or before
 September 8, such that iDS can complete the imaging. It is our understanding that obtaining a complete
 image of Mr. Raithel’s laptop (notwithstanding the alleged technical issues conveyed by Skyryse) is
 readily doable, and iDS has the expertise to complete that task.

 Regarding Google Drive, consistent with Judge Wu’s directives on page 3 of the attached, we request
 that:

     •    By September 1, Skyryse advise if it has been able to find a solution such that it can search
          metadata through Google Drive without having to process the entire repository.
     •    If Skyryse cannot provide such a confirmation, then by September 15, Skyryse produce the file
          logs for each of the individuals at issue (Hummingbird personnel, former Moog personnel, and
          other identified Skyryse personnel) so that Moog can review and request production of
          particular files. To be clear, and as clarified to the Court today, Moog only seeks the production
          of file logs which list the file names accessed by the individuals in question (and not the contents
          of any such files). After receipt of such logs, Moog can request production of certain files. If
          Skyryse has any objections to producing such documents, it can assert those objections and the
          Parties can then meet and confer in the ordinary course.




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     •    Additionally, Skyryse will run the final set of search terms against all of the contents and file
          names of the files in the Google Drive Account. Skyryse shall begin producing responsive
          documents on a rolling basis on September 8, with the production to be completed by October
          27.

 Regarding search terms, Moog is prepared to make the following proposals (many of which were
 already made before the Parties submitted the Joint Report):

     •    Regarding “Platform,” Moog has already agreed to withdraw “Platform” as a search term from
          the Git and Polarion repositories. Moog is only requesting that “Platform” be run across Google
          Drive. Per Juli’s August 11 e-mail (attached), this narrowed search term results in only 8,547 hits
          in Google Drive, with only 8 unique documents. This is a substantial reduction from the
          inaccurate number of 158,600 hits that Skyryse represented on Page 20 of the Joint Report.
     •    Regarding “Git,” Moog has already agreed to narrow this term to (“Git” and “guide”) across all
          repositories. Per Juli’s August 11 e-mail, this narrowed search term results in only 651 total hits,
          and only 43 unique hits in Google Drive.
     •    Regarding “Jira,” Moog has already agreed to narrow this term to (“Jira” and “guide”) across all
          repositories. Per Juli’s August 11 e-mail, this narrowed search term results in only 754 total hits,
          and only 137 unique hits in Google Drive.
     •    To reach a mutually agreeable solution, Moog is also prepared to drop the search terms “IO_”
          and “API_” from all repositories.

 Based on the foregoing, Moog has substantially narrowed or dropped the 4 search terms that Skyryse
 represents provide the largest volume of search term hits, as well as Jira. After these revisions, based on
 Skyryse’s chart on Page 20 of the joint report, no search term will result in hits over 7,567 (which does
 not even account for unique documents). And, our understanding is that the total volume of documents
 that Skyryse would have to review would be much less than 113,000 after removing “IO_” and “API_”.

 Please confirm your agreements to the foregoing. If Skyryse would like to confer, please provide your
 availability on Monday between 10 AM to Noon and 2-4 PM, and Tuesday between 9-11 AM and 2-4 PM
 PT.

 Thank you,
 Kazim



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